                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )                 Case No.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
CARRIE TYSON (13)                         )
_________________________________________ )

                                              ORDER

       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant’s Motion

Requesting Waiver to Represent Herself (Doc. No. 527) as well as Defendant’s Motions to

Withdraw Plea of Guilty (Doc. Nos. 520 & 526). On March 18, 2014, the Court conducted a

hearing on this and other matters. At the hearing, Defendant stated that she was in the process of

retaining counsel. Subsequently, the Court reserved judgment on the Defendant’s Motion

Requesting Waiver until such time as Defendant was able to retain counsel or concluded that she

wished to represent herself (Doc. No. 537).

       The Court held a follow-up hearing on this matter on August 27, 2014 and instructed

Defendant that the Court will take up her Motion to Withdraw Plea of Guilty in 30 days’ time.

The Court understands that Defendant is still attempting to obtain counsel; therefore, prior to the

hearing, Defendant may (1) continue to attempt to retain counsel, (2) conclude that she wishes to

represent herself, or (3) request that the Court appoint an attorney for her. If the Defendant

wishes to have the Court appoint an attorney for her, she must give the Court written

notice within fourteen (14) days of the date of this order. Upon receiving such notice, the

Court will have an attorney appointed to represent her.




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         IT IS THEREFORE ORDERED that the Court will conduct a hearing on Defendant’s

Motions to Withdraw Plea of Guilty (Doc. Nos. 520 & 526) on October 7, 2014 at 2 p.m. in

Courtroom 3 in the Charlotte Division.

         IT IS FURTHER ORDERED that if the Defendant wishes to have a court-appointed

attorney, she must give the Court written notice within fourteen (14) days of the date of this

order.

         The Clerk of Court is directed to certify copies of this order to the U.S. Marshal Service

and to the Defendant.

SO ORDERED.

 Signed: September 2, 2014




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